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                                              Exhibit B
                                      Case No. 2006CW255 WD5
                                       Fixed Amount Contracts

                       A
           Raw Water                   Maximum Annual Demand               Contract/Stipulation Date
                                               (ac-ft)
 5K Agreement                                  5,000                               08/31/1999
 Agricultural Ditch                             200                                04/02/1936
 Antero Contracts (delivered                  354.82                              Various dates
 through High Line Canal)

 Unassigned High Line contracts                       59.18
 City of Arvada                                      19,000                           05/25/1965
 City of Arvada                                       3,000                           12/07/1999
 City of Arvada                                        531                            09/01/2004
 Arvada/Long Lakes Ranch                               400                            12/16/1997
 (Sports Complex)
 City of Aurora                                        300                            04/18/1995
 Centennial W&S District                              1,000                           12/20/1994
 Consolidated Mutual                                  1,853                           05/02/2000
 City of Englewood                                     700                            08/11/1995
 City of Englewood/Cabin                              3,200                           08/11/1995
 Meadow Creek
 City of Englewood (Replacement                        750                            08/05/1991
 for 1953 Agreement)
 Englewood – Stipulation in Case                        60                            02/24/1992
 No. 80CW039
 Girl Scouts                                           1.46                           10/11/1988
 City of Golden/Vidler                                 360                            05/10/2007
 Inverness W&S District                                568                            08/05/1997
 Lockheed Martin (Ridge Riders)                          6                            06/07/1994
 North Table Mountain W&S                             6,000                           01/19/1988
 District
 Rocky Mountain Arsenal                                300                            04/09/2008
 U.S. Department of Energy                            1,396                           04/09/1985
 (Rocky Flats-Dow Chemical)
 City of Westminster                                  3,500                           01/24/1984
 City of Westminster                                  1,000                           09/21/1993
 Total Raw Water                                     49,539
 A
   This is a complete list of all of Denver’s water delivery obligations under Fixed Contracts outside the
 Service Area in the South Platte River Basin. It does not include various delivery obligations Denver has
 in the Colorado River Basin, including:

     •   Grand County Water and Sanitation District dated October 6, 1960 and November 24, 1986
     •   Winter park Water and Sanitation District dated January 23, 1980
     •   Summit County dated September 18, 1985
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       •   Clinton Reservoir – Fraser River Water Agreement dated July 21, 1992
       •   Colorado Division of Wildlife dated May 27, 1993
       •   Cyprus Climax Metals dated August 11, 1995
       •   Taussig Ranch (Big Lake Ditch) dated March 30, 1998

       Treated Water – Outside             Maximum Annual Demand              Contract/Stipulation Date
         Service Area (Excludes                       (ac-ft)
         Emergency Interconnect
      Agreements and miscellaneous
        Connector Agreements)B
    City and County of Broomfield                     6,500                         11/01/1994
    East Cherry Creek Valley W&S                       771                          10/19/2005
    District
    Inverness W&S District                             598                          08/05/1997
    South Adams County W&S                            4,000                         11/30/1998
    District
    Rocky Mountain Arsenal                              50                          11/30/1998
    Chatfield South                                     69                          03/23/1999
    Total Treated Water                              11,988
    B
      Connector Agreements provide for water service to single premises outside Denver through metered
    taps without specifying a fixed limit. Water supplied under Emergency Interconnect Agreements and
    Connector Agreements is permissible under Article I.A of the CRCA.

           Recycled Water               Maximum Annual Demand                Contract/Stipulation Date
                                                (ac-ft)
    Rocky Mountain Arsenal                       700                                04/09/2008
    Xcel Energy (Cherokee Plant)                5,200                               12/16/1997
    Recycle Water Unassigned C                   500
    Total Recycle Water                         6,400
C
 Water formerly under contract to Rocky Mountain Arsenal and available for
use under Article II.A of the CRCA.

Grand Total: 67,927 acre feet
